          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

EDWARD NELLSON,                            )
                                           )
                     Plaintiff,            )
vs.                                        )       Case No. CIV-20-562-F
                                           )
GARY PETRY, et al.,                        )
                                           )
                     Defendants.           )


              DEFENDANT’S OBJECTION TO PLAINTIFF’S
        MOTION FOR LEAVE TO AMEND HIS COMPLAINT (DOC. 108)
                      WITH BRIEF IN SUPPORT


       In March 2022, this Court directed Plaintiff to effectuate proper service of process

on Defendant Dr. Petry by May 2, 2022. Now, approximately one month after that deadline

has passed, Plaintiff seeks leave to file a second amended complaint to correct Dr. Petry’s

misspelled first name from “Gary” to “George” (Doc. 108). But Dr. Petry has repeatedly

identified this misspelling in prior filings and has never relied on his misspelled first name

to evade service of process or to circumvent his participation in this litigation. Plaintiff’s

superfluous request creates further delay in this case. Indeed, it is nothing more than a

thinly veiled attempt to, yet again, extend his service deadline. Because Plaintiff has still

failed to serve Dr. Petry, his request should be denied, and this case should be dismissed.

                                        Background

       Plaintiff Edward Nellson, Federal Register Number 31408-007, is confined at

United States Penitentiary (USP) Terre Haute in Terre Haute, Indiana where he is serving


                                               1
          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 2 of 7




a life sentence. Complaint for Monetary Damages and Injunctive Relief (Doc. 1 at 1); see

also    Federal   Bureau    of   Prisons   (“BOP”)     Inmate    Locator    (available    at

https://www.bop.gov/inmateloc/).     On March 22, 2020, Plaintiff’s attorney filed a

Complaint for Monetary Damages and Injunctive Relief (Doc. 1) in the United States

District Court for the District of Columbia. Plaintiff brought Bivens claims against

seventeen individuals working for the Federal Bureau of Prisons (“BOP”). Id. On June 12,

2020, Plaintiff’s claims against Dr. Petry were transferred to the Western District of

Oklahoma. (Doc. 43 at 2). On October 12, 2020, Plaintiff filed an Amended Complaint

(Doc. 58) seeking money damages in excess of $100,000,000.00 alleging inadequate

medical treatment in violation of the Eighth Amendment after Plaintiff fell out of his upper

bunk in his cell at the Federal Transfer Center (“FTC”) in Oklahoma City. Id. at 3 & 16.

The Individual Defendants and the United States moved to dismiss the Amended

Complaint (Docs. 83 & 84).

        On March 2, 2022, the Honorable Judge Maxfield-Green found that Plaintiff failed

to effect service upon Dr. Petry (Doc. 96 at 12) and recommended that Plaintiff receive

adequate time to do so or risk Dr. Petry’s dismissal from this case. On March 21, 2022,

the Honorable Judge Friot directed Plaintiff to effectuate proper service of process on

Defendant giving Plaintiff approximately 6 weeks to do so until May 2, 2022 (Doc. 97).

Plaintiff has yet to serve Dr. Petry. Plaintiff now seeks leave to amend his complaint (Doc.

108). For various reasons, this request should be denied.

   I.      Plaintiff cannot circumvent or extend the court’s deadline to serve Dr. Petry
           by filing an amended complaint


                                             2
          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 3 of 7




          A. The service deadline is extended only for “newly added” defendants

       “[T]he [90]–day period provided by Rule 4(m) is not restarted by the filing of

an amended complaint except         as    to    those     defendants      newly      added     in

the amended complaint.” Bolden v. City of Topeka, Kan., 441 F.3d 1129, 1148–49 (10th

Cir. 2006). This restriction makes good practical sense, and is intended to prevent the type

of rule circumvention Plaintiff attempts here:

       This construction of the rule prevents the plaintiff from repeatedly
       filing amended complaints “to extend the time for service indefinitely,” Del Raine
       v. Carlson, 826 F.2d 698, 705 (7th Cir.1987). In particular, if we read Rule 4(m) to
       refer to the most recently filed version of the complaint, regardless of whether the
       defendant to be served was newly added, dilatory plaintiffs could evade the rule's
       time deadline by taking advantage of the opportunity under Fed.R.Civ.P. 15(a) to
       amend the complaint once as of right before a responsive pleading is served; a
       plaintiff who had never bothered to serve any defendant could avoid altogether the
       original 120–day deadline simply by filing an amended complaint when it felt like
       effecting service. Accordingly, we read “service ... upon a defendant within 120
       days after the filing of the complaint,” Rule 4(m), to refer to filing of the first version
       of the complaint naming the particular defendant to be served.

Id.

          B. Dr. Petry is not a “newly added” defendant

       Dr. Petry has never attempted to avoid service or otherwise respond to this lawsuit

simply because his first name was misspelled in Plaintiff’s initial (Doc. 1) and amended

(Doc. 58) complaints. Indeed, Plaintiff’s service deficiencies were first identified by the

BOP in February 2021. See Motion to Reconsider at 27 (Doc. 70). Shortly thereafter, this

Court ordered Dr. Petry’s response to the Amended Complaint. Order granting Motion to

Reconsider (Doc. 72) (also ordering Defendants to file an answer or dispositive motions

within 60 days of the order and raise any service issues at that time). Not only did Dr.


                                                3
          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 4 of 7




Petry comply with the Court’s Order, but throughout this case he has repeatedly identified

the misspelling of his first name. See, e.g., Entry of Appearance at n. 1 (Doc. 77)

(explaining that “Defendant Gary Petry” is “Dr. George Petry”); Motion for Extension of

Time at n. 1 (Doc. 78) (same); Motion for Leave to File Oversized Brief (Doc. 80)

(referencing “George Petry); Order Granting Leave to File Oversized Brief (Doc. 81)

(referencing “George Petry”); U.S. Notice of Substitution at 2 (Doc. 82) (referencing

“George Petry”); Scope of Employment Certification at n. 1 (Doc. 82-1) (explaining that

“Defendant Gary Petry” is “Dr. George Petry”); Motion to Dismiss at 11 (Doc. 84)

(referencing “George Petry”).

       And in Plaintiff’s response to Defendants’ Motion to Dismiss (Doc. 90 at 1), he

correctly referred to Dr. Petry as “Defendant [ ] George Petry”. Plaintiff’s proposed

amendments do not classify Dr. Petry as a “newly added” defendant and cannot be used to

alter the timing of his already deficient service of process. Additionally, because this Court

has ruled that service of process must be effectuated as to Dr. Petry (Docs. 96 & 97), any

attempts by Plaintiff to further delay this proceeding or to restart the clock for service of

process should not be entertained.

          C. Because Dr. Petry is not a “newly added” defendant, there is no need to
             amend the complaint

       While leave to amend should be “freely give[n]”, Fed. R. Civ. P. 15(a)(2), the Court

may refuse such requests “only [upon] a showing of undue delay, undue prejudice to the

opposing party, bad faith or dilatory motive, failure to cure deficiencies by amendment

previously allowed, or futility of amendment.” Wilkerson v. Shinseki, 606 F.3d 1256, 1267


                                              4
          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 5 of 7




(10th Cir. 2010) (quoting Duncan v. Manager, Dep't of Safety, City & Cnty. of Denver, 397

F.3d 1300, 1315 (10th Cir. 2005)). Additionally, if the party seeking amendment “knows

or should have known of the facts upon which the proposed amendment is based but fails

to include them in the original complaint, the motion to amend is subject to denial.” Frank

v. U.S. W., Inc., 3 F.3d 1357, 1365–66 (10th Cir. 1993).

       In the Tenth Circuit, untimeliness alone is reason to deny leave to amend,

particularly when there is no “adequate explanation” for the delay. Id. (affirming district

court’s dismissal of motion to amend because it was filed four months after the court’s

deadline to amend and because the plaintiffs knew or should have known long before that

Northwestern Bell was a possible defendant). While no scheduling order has been entered

in this case, Plaintiff’s “untimeliness” appears in the failure to abide by the timeline to

serve Defendant and is alone a reason to deny his request. As explained supra, Plaintiff

has known since February 2021 that service of process was at issue. Additionally,

beginning in June 2021, Dr. Petry repeatedly identified the misspelling of his first name.

Now, approximately one year later, Plaintiff seeks to amend his complaint for a second

time to correct this issue.

       Plaintiff knew or should have known about this issue when he filed his initial

complaint in March 2020 or the amended complaint in October 2020. But even if Plaintiff

was unaware of Dr. Petry’s first name during this timeframe, he was put on notice of this

deficiency last June after Defendants’ repeated references in no less than seven separate

Court filings.    Indeed, Plaintiff himself acknowledged this incorrect spelling when

responding to Defendants’ Motion to Dismiss. It seems that this delayed request is made

                                            5
           Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 6 of 7




with a dilatory motive to further delay this proceeding and to provide some explanation for

Plaintiff’s continued failure to serve Dr. Petry.

       Importantly, this amendment is not necessary for Plaintiff to effectuate service of

process.   Indeed, Court’s routinely adjudicate cases where a party’s name may be

misspelled, but there is no mistake as to the actual entity or individual involved in the

litigation. See, e.g., Sakrekov v. Grismer, No. CIV-12-130-W, 2013 WL 628679, at *1 n.

2 (W.D. Okla. Jan. 14, 2013)(noting that the plaintiff misspelled the defendant’s name in

the Amended Complaint with the Court identifying the defendant by the proper

spelling); report and recommendation adopted, No. CIV-12-130-W, 2013 WL 627335

(W.D. Okla. Feb. 20, 2013). 1 The same is true here where Dr. Petry has repeatedly

identified this error and continues to actively participate in this litigation.

           D. Plaintiff’s request includes a party previously dismissed

       Finally, Plaintiff seeks to file a second amended complaint which identifies a party

already dismissed from this proceeding – Defendant Theresa Stenmark. This Court

dismissed Defendant Stenmark in March 2022 (Doc. 96 & 97). Plaintiff cannot file an


1
 See also Krueger v. Bd. of Cty. Comm’rs for Wagoner Cty., Okla., No. CIV-21-044-RAW,
2022 WL 988312, at *1 n. 3 (E.D. Okla. Mar. 31, 2022)(noting that plaintiffs misspelled a
defendant’s name in the caption of the case); Davis v. Clifford, No. 13-CV-1642-WJM-
KLM, 2014 WL 901608, at *1 n. 1 (D. Colo. Mar. 7, 2014)(noting that the police sergeant’s
last name was misspelled in the complaint); Gibson v. Zavaras, No. 09-CV-02328-WYD-
KLM, 2010 WL 3790994, at *1 n. 1 (D. Colo. Aug. 10, 2010) (noting that defendant’s last
name was misspelled and while plaintiff used various spellings for the defendant, the Court
followed the consistent spelling used by Defendants), report and recommendation
adopted, No. 09-CV-02328-WYD-KLM, 2010 WL 3790894 (D. Colo. Sept. 22, 2010);
Tinnin v. Lesner, No. 20-CV-03460-STV, 2021 WL 2853275, at *1 n. 1 (D. Colo. July 7,
2021)(noting that while the defendant’s name was misspelled in the Amended Complaint,
the Court used the correct spelling in its Order).
                                                6
          Case 5:20-cv-00562-F Document 109 Filed 06/13/22 Page 7 of 7




Amended Complaint once again including Nurse Stenmark as a defendant in this case. Her

involvement has already been adjudicated by this Court, and any request to include

Defendant Stenmark in an amended complaint should be denied.

                                        Conclusion

       Plaintiff has exceeded the Court’s extended six-week service deadline by four

additional weeks. Additionally, his request to amend comes approximately one year after

Dr. Petry identified his first name as being misspelled. But Dr. Petry has never attempted

to evade service or refused to respond to this lawsuit simply because of this misspelling.

Plaintiff’s dilatory request appears to be an attempt to further delay this proceeding and to

provide additional explanations for his failure to serve Dr. Petry. His request should be

denied, and this case should be dismissed.

                                          Respectfully submitted,

                                          ROBERT J. TROESTER
                                          United States Attorney

                                          /s/ Rebecca A. Frazier
                                          REBECCA A. FRAZIER
                                          Okla. Bar No. 22285
                                          Assistant U.S. Attorney
                                          210 Park Avenue, Suite 400
                                          Oklahoma City, OK 73102
                                          (405) 553-8804/8700
                                          Rebecca.frazier@usdoj.gov




                                             7
